     Case 3:15-cr-01126-JM    Document 24    Filed 07/29/15   PageID.50   Page 1 of 1




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 7
                          UNITED STATES DISTRICT COURT
 8
                        SOUTHERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA            )      Crim. Case No. 15cr1126 JM
10                                       )
                      Plaintiff,         )
11                                       )
                v.                       )      ORDER AND JUDGMENT TO
12                                       )      DISMISS THE INDICTMENT
                                         )
13 FABIAN GONZALEZ (1)                   )
                                         )
14                    Defendant.         )
                                         )
15
          Upon application of the United States Attorney, and good cause appearing
16
17 therefrom,
18
          IT IS HEREBY ORDERED that the indictment in the above-captioned case
19
20 against FABIAN GONZALEZ be dismissed without prejudice.
21 DATED: July 29, 2015
22
23                                 JEFFREY T. MILLER
24                                 United States District Judge

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